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JACQUELINE CONWAY                                    *       IN THE

       Plaintiff                                     *       UNITED STATES

       v.                                            *       DISTRICT COURT

JASMINE JEFFRY, ET AL.                               *       OF MARYLAND

       Defendant                                     *              Northern District

                                          *     Case: 1:25-cv-01826-MJM
******************************************************************************
     OPPOSITION TO MOTION TO DISMISS OR IN THE ALTERNATIVE FOR
   SUMMARY JUDGMENT AND CROSS-MOTION FOR SUMMARY JUDGMENT

       NOW COMES, Plaintiff, Jacqueline Conway, by and through her attorney, J. Wyndal
Gordon of THE LAW OFFICE OF J. WYNDAL GORDON, P.A., and Raouf M. Abdullah of
RAOUF M. ABDULLAH & ASSOCIATES, LLC to submit this Opposition to Defendant’s
Motion to Dismiss or in the Alternative for Summary Judgment and Cross-Motion for Summary
Judgment pursuant to Rule 12(b)(6), 12(d), and Rule 56 alleging as true the following:
        NOTE WELL: Plaintiff’s Complaint and Demand for Jury Trial is consistent with, and
virtually mirrors, the Statement of Facts set forth below. (Ex. 15). Because Defendants have
styled their motion as one to dismiss --or, in the alternative, for summary judgment --and have
submitted materials outside the pleadings, Plaintiff has treated the motion as one for summary
judgment under Rule 56, in an abundance of caution. Pursuant to Rule 12(d), “[i]f, on a motion
under Rule 12(b)(6) or 12(c), matters outside the pleadings are presented to and not excluded by
the court, the motion must be treated as one for summary judgment under Rule 56,” and “[a]ll
parties must be given a reasonable opportunity to present all the material that is pertinent to the
motion.” Fed. R. Civ. P. 12(d). The court may properly consider matters outside the pleadings
under these circumstances. Pevia v. Hogan, 443 F. Supp. 3d 612, 625–26 (D. Md. 2020).
Moreover, when a movant expressly captions its motion “in the alternative” as one for summary
judgment and submits exhibits or other materials for the court’s review, the parties are deemed to
have sufficient notice of potential conversion under Rule 12(d).” Laughlin v. Metro. Wash.
Airports Auth., 149 F.3d 253, 261 (4th Cir. 1998).

                             *    *                  *
       I.      STATEMENT OF FACTS

       On October 29, 2024, @ 2:03p, Baltimore City Sheriff's Department, retired Captain,

Jacqueline Conway, 60, 5'3, was on her part time job delivering food for Door Dash when she

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happened upon a customer, Keyon Agnew, 21, 6'3, who deliberately answered the door of his

residence/rowhome otherwise known as 1733 Edgewood Road, Loch Raven, Baltimore County,

Maryland 21286 --with his genitals exposed and penis erect. (Pl. Ex. 1 ¶¶6 - 7), see also (Pl. Ex.

3 pp. 2 - 3), (Pl. Ex. 7), (Pl. Ex. 14). The customer looked Conway in the eyes, with one of his

forearms leaning above his head against the door frame and the other bent downward with its

hand on his hip; the customer was simultaneously smiling at Plaintiff while looking down at his

stimulated genital, then back up again at Plaintiff with his eyebrows raised and a tilted grin. (Ex.

1 ¶8), see also (Df. Jeffry BWC-A, 05:12 - 28) (“All you saw was his penis and balls, . . . I would

not waste your time or mine . . . I want to file charges because he came to that door with his

penis hanging out.”).

       Plaintiff, shocked, offended, and frightened by the customer’s lewd/indecent exposure,

exchanged some words, and immediately returned to her vehicle to call the police –multiple

times. (Pl. Ex. 1 ¶9). She moved her car across the street diagonally from the customers home to

create distance and await police. Id., see also (Df. Jeffry BWC-A. 02:20 - 02:30), (Pl. Ex 4 p.

2). Moments later, the customer came outside demonstrably aggressive and violent. (Pl. Ex. 1

¶10). He was flailing his arms with clenched fists, --yelling profanities and threatening to cause

serious bodily harm to Plaintiff. Id. Fearing for her life and suddenly realizing she was

vulnerable to attack seated inside her vehicle, Plaintiff retrieved and unholstered her lawfully

owned and legally permitted firearm. (Pl. Ex. 1 ¶11). She held it in the low ready position,

pointed downward toward the passenger-side floorboard to safely avoid a physical confrontation

and protect herself if necessary. Id. She then commanded the customer to “back up” from her

truck. (Pl. Ex. 1 ¶12). He complied and returned to his home, at which point Plaintiff safely put


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her firearm away. Id., see also (Ex. 4 pp. 3 - 4). Plaintiff did not raise the firearm nor did the

customer see her firearm. Plaintiff then safely drove to the next street over --off the customer’s

block --to a safer location while continuing to call 911. Id., see also (Pl. Ex. 4 pp. 2 - 3), (Df.

Jeffry BWC-D, 13:48 - 55). Plaintiff was determined to press criminal charges against the

customer for lewdness, indecent exposure and solicitation, and possibly assault. Id., (Pl. Ex. 4 p.

2) see also CL §11-107(b) (“A person may not commit the common law crime of indecent

exposure.”), see also CL § 11-306(a) (“A person may not knowingly procure or solicit or offer to

procure or solicit prostitution or assignation.”). Altogether, Plaintiff contacted 911 two-three

times. (Pl. Ex. 1 ¶13). When no one was dispatched, Plaintiff decided to drive to the Towson

police precinct to press charges. Id., (Df. Jeffry BWC-D, 13:48 - 55). While en route, Plaintiff

encountered Defendant Baltimore County PO Jasmine Jeffry in the parking lot of a local

Walgreens Drug Store. See (Pl. Ex. 1 ¶13), (Df. Jeffry BWC-B, 05:15 - 5:30). Plaintiff advised

PO Jeffry what happened, PO Jeffry confirmed Plaintiff’s 911 calls, and they both returned to the

scene together. Id. An investigation ensued, lead by PO Jeffry and her sergeant, Defendant

Bryan McDowell #5819. (Pl. Ex. 1 ¶14). When Sgt. McDowell arrived, he parked his police

vehicle behind Plaintiff’s SUV, boxing her in between the car parked in front of it. Id.

Meanwhile other officers took positions around Plaintiff’s vehicle effectively detaining her in her

front passenger compartment. Id. The entire time, Plaintiff was not free to leave. Id. PO Jeffry,

McDowell, et al., maintained their physical presence around Plaintiff’s vehicle until

commanding her to alight therefrom to be officially arrested, handcuffed, and taken into custody.

(Pl. Ex. 1 ¶15). PO Jeffry and Sgt. McDowell equally participated in gathering and verifying

information from the customer and Plaintiff, including (1) information concerning Plaintiff’s


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reasonable apprehension of fear caused by the customer’s aggressive behavior toward her, (2)

Plaintiff’s retired status, (3) her law enforcement credentials, and (4) the fact that the customer

never saw Plaintiff in possession of a firearm. (Pl. Ex. 1 ¶16). Upon the conclusion of

Defendants PO Jeffry and Sgt. McDowell investigation, they advised Plaintiff that she was being

charged with 1st Degree Assault. (Pl. Ex. 1 ¶18). When PO Jeffry and/or Sgt. McDowell pulled

out their handcuffs Plaintiff feared she would be arrested and thereby assaulted without probable

cause or legal justification; she also feared that handcuffs would be applied to her wrists in public

and she would be taken into police custody --without consent. Id. Plaintiff was ultimately

charged by Defendant(s) with 1st and 2nd degree assault and faced 35 years imprisonment and a

$2500 fine. Id., see also (Pl. Ex. 2 p. 1). None of Plaintiff’s conduct alleged occurred in the

presence of the officers to justify an arrest for any variety of second degree assault. No physical

contact with the customer occurred, Plaintiff did not point her firearm at anyone, nor did she

place the customer in reasonable apprehension of fear“with a firearm.” See CL §3-202. The

customer “never observed a firearm.” See (Pl. Ex. 1 ¶17), (Pl. Ex. 4 p. 3). The firearm remained

in a low ready position pointed downward toward the passenger-side floorboard at all times.

Consequently, there was no justification for Plaintiff’s arrest for 1st Degree Assault. According

to PO Jeffry, the customer claimed he observed an object that resembled a “Taser” –not a gun.

(Pl. Ex. 1 ¶17). The customer was “adamant” about not observing a firearm, explaining that he

“knows what a Taser looks like” and the “only [weapon he] noticed” was a Taser in [Plaintiff’s]

“left hand.” Id., (Pl. Ex. 4 p. 3), see also (Df. Jeffry BWC-B. 01:50 - 02:03). The customer

doubled-down on this response, by “repeatedly” stating he “[n]ever observed a firearm in

[Plaintiff’s] hand” or “point[] a gun in his direction.” (Pl. Ex. 4 p. 3).


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       Equally important, Sgt. McDowell had corroborating evidence that Plaintiff unholstered

her firearm and placed it in the “low ready” position pointed toward the passenger-side

floorboard of her vehicle for safety and self-defense. See (Pl. Ex. 1 ¶20), (Pl. Ex. 4 p. 3), see also

(Df. Jeffry BWC-D. 13:20 - 13:27). Plaintiff grew fearful of the customer “walking toward” and

“up to” her vehicle demonstrably aggressive, [in a] violent manner with his arms flailing and fists

balled up, yelling profanities, anf appearing physically menacing and threatening to cause

[Plaintiff] serious bodily injury. See (Pl. Ex. 1 ¶¶10, 21), see also (Pl. Ex. 4 p. 3) (“Agnew

reported that he yelled at Suspect Conway and questioned why she was still sitting in front of his

residence.”), see generally (Df. Jeffry BWC-D. 13:20 - 13:27). Plaintiff responded in a way

consistent with her training and out of genuine fear. (Pl. Ex. 1 ¶21). Nonetheless, the inference

drawn from the customer’s interaction with Plaintiff was that he had gotten so close to Plaintiff

that he could see an object in her left hand inside of her vehicle. He was positive it was not a

firearm but confident it was a Taser. (Pl. Ex. 1 ¶17), (Pl. Ex. 4 p. 3), (Df. Jeffry BWC B. 01:50 -

02:03). The alternative inference is that the customer was being deceptive about whether he saw

anything in Plaintiff’s hand at all --neither a firearm nor a Taser. Last, Defendants PO Jeffry and

Sgt. McDowell did not believe Plaintiff was a flight risk as she was not resisting, she was polite

and cooperative, she had no criminal record and she was a bona fide retired law enforcement

officer with credentials, a verified address, verified driving privileges, a Concealed Carry

Weapons permit, and current vehicle registration and ownership documentation.

       As a direct and proximate cause of this incident, Plaintiff was severely humiliated,

embarrassed, and traumatized by acts of PO Jeffry and Sgt. McDowell. She was unlawfully

handcuffed and taken into custody at the scene as ordered by Sgt. McDowell and complied with


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all of PO Jeffry commands to facilitate the arrest. (Pl. Ex. 1 ¶22). While being transported,

Plaintiff advised PO Jeffry that the handcuffs were too tight and caused pain and agony to her

wrists and back due to recent career-ending back surgeries. Id., at ¶23. Plaintiff’s vehicle and

personal affects --including her purse were abandoned and her vehicle was left accessible to the

miscreant customer who had just victimized her. Id., at ¶24. Plaintiff was transported to the

Baltimore County Police Department and placed in a bull-pen where she was fitted in leg-irons

and remained for several hours. Id., at ¶22.

       Conway was released by a Court Commissioner who expressly found “no probable

cause” for her arrest, charges, or detention. See (Pl. Ex. 3 pp. 1 - 2). At all times alleged,

Defendants Sgt. McDowell and PO Jeffry knew Plaintiff had not committed any crimes, that she

was a victim of a sex offense, that she 60 years old, 5'3, that the customer was 21 years old, 6'3,

that Plaintiff was performing her duties as a “DoorDasher” delivering food, that she was

approached in an aggressive manner by the customer (after victimizing Plaintiff by exposing

himself while aroused) as she sat in her vehicle across the street before moving to a distant corner

the next street over to await police to arrival. (Pl. Ex. 1 ¶¶30 - 32). Plaintiff’s front passenger

compartment is a confined space that permits minimal body movement thereby making Plaintiff

vulnerable to an ambush attack. Id. Last, Defendants Sgt. McDowell and PO Jeffry knew that

Plaintiff was retired law enforcement, trained in the proper use of a firearms, and use of force and

self-defense techniques. Id., (Pl. Ex. 4 pp. 1 - 4). Notwithstanding these facts, Sgt. McDowell

and PO Jeffry unlawfully arrested Plaintiff, 60, the victim of a sex crime, after she called them

for their help. And they arrested her right in front of her offender who exposed himself, solicited

her, and assaulted her (by fright) when he came outside to confronting her aggressively while she


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was sitting inside of her vehicle. (Pl. Ex. 1 ¶¶30 - 32). Despite Plaintiff’s insistence that Sgt.

McDowell and PO Jeffry lawfully arrest the customer pursuant to CP §2-203(b)(6) for violating

Plaintiff, they refused. Instead, they chose to further embarrass and humiliate Plaintiff by

arresting her in front of him. The entire experience left Plaintiff fearful and emotionally scarred.

(Pl. Ex. 1 ¶¶29 - 31). PO Jeffrey and Sgt. McDowell not only violated Conway’s 4th and 14th

Amendment rights by unlawfully arresting and imprisoning her without probable cause, they also

unlawfully seized her firearm and never returned it, thereby violated Plaintiff’s Second

Amendment rights. The next day, October 30, 2024, PO Jeffry sent Plaintiff a text message

expressing “concerns” about Plaintiff’s wrongful arrest and imprisonment. See (Pl. Ex. 6). PO

Jeffry forwarded her police report and charges to the Baltimore County State’s Attorney’s Office

(“SAO”) for prosecution. After the case was reviewed by Assistant State’s Attorney (ASA),

Samuel Dominick, III, the SAO declined to prosecute. According to PO Jeffry, ASA Dominick,

III, made the following representation (admissible as State of mind of declarant [belief, intent,

plan], expert testimony, and declaration against interest of PO Jeffry) as to why the SAO declined

to prosecute:

                “[B]ased on the articulable facts of the incident, which highly
                suggested the arrest of [Conway] was made prematurely and
                without a completed and thorough investigation of all possible
                facts . . ., all the charges/the criminal case . . . generated against
                [Conway] . . . would be dismissed, as he agreed there was no intent
                of malicious criminal action(s) on her part during this incident that
                could constitute or require criminal prosecution against her by the
                Baltimore County State’s Attorney's Office.” See (Pl. Ex. 5, BCPD
                Case Rep. J. Jeffry #6503, pp. 4-5).

       On the 22nd day of November, 2024, which was Plaintiff’s first trial date, the SAO

dismissed her charges, including the felony charge of 1st Degree Assault. (Pl. Ex. 12), (Pl. Ex. 1


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¶27). On November 26, 2024, the news media published a story about Plaintiff’s arrest, and the

very next day on November 27, 2024, the customer was charged with indecent exposure via

criminal summons. (Pl. 13), (Pl. Ex. 14). The entire investigation was captured on PO Jeffry’s

and Sgt. McDowell’s body worn cameras (BWC). (Pl. Ex. 4 p. 4). Defendants failed to produce

the video from Plaintiff’s initial contact with them at Walgreen’s, PO Jeffry’s travel to the scene,

and the entire video of PO Jeffry discussing the case with an immediate supervisor. Based upon

the foregoing, Defendants have failed to show Plaintiff has failed to state a claim for which relief

can be granted or that there are no genuine disputes of material facts so that judgment should be

rendered as a matter of law. This case is replete with plausible well-plead claims and genuine

disputes of material facts –even without the complete review of the all of the videos. Plaintiff

believes she is entitled to Summary Judgment and so moves.

       II.     STANDARD OF REVIEW

       Generally, when considering a motion to dismiss under Rule 12(b)(6), the Court is

limited to evaluating the sufficiency of the allegations within the four corners of the complaint

and any “documents attached or incorporated into the complaint.” Zak v. Chelsea Therapeutics

Int’l, Ltd., 780 F.3d 597, 606 (4th Cir. 2015) quoting E.I. du Pont de Nemours & Co. v. Kolon

Indus., 637 F.3d 435, 448 (4th Cir. 2011). Courts do not ordinarily consider materials “outside of

the complaint, or not expressly incorporated therein.” Clatterbuck v. City of Charlottesville, 708

F.3d 549, 557 (4th Cir. 2013). Here, Defendants do not argue that the Complaint fails to state a

claim; rather, they contend that video evidence contradicts Plaintiff’s allegations. Yet, as the

Fourth Circuit has made clear, summary judgment is inappropriate “where the parties have not

had an opportunity for reasonable discovery.” Kolon, 637 F.3d at 448. Although Defendants’


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body-worn camera (BWC) footage depicts portions of their investigative conduct, it does not

capture Plaintiff’s physical pain, emotional distress, or the full scope of the force inflicted during

handcuffing and transportation. Plaintiff is therefore entitled to additional discovery, including

sworn testimony and relevant records, to more fully develop the evidentiary record.

       Plaintiff submits that the video actually shows her exhibiting a high pain tolerance and

verbal restraint, and code-switching –survival conduct shaped by fear that any perceived

resistance might provoke harsher treatment. (Pl. Ex. ¶34). Her goal was to get home safely. As

Witt v. West Virginia State Police, Troop 2, 633 F.3d 272 (4th Cir. 2011) cautions, a court may

not reject a plaintiff’s version of events if the video “merely offers some support for a

governmental officer’s version.” Id. at 276. Likewise, where “the videos are unclear and

ambiguous, the Court must adopt [the nonmovant’s] version of events.” Hall v. WMATA, 33 F.

Supp. 3d 630, 632 (D. Md. 2014). Plaintiff respectfully requests that the Court not rely solely on

Defendants’ selected BWC clips to determine the nature and degree of force used, or the extent

of her injuries and pain & suffering. She further requests access to all BWC footage in full, and

all other relevant discovery materials, including all of PO Jeffry’s recorded phone conversations

about the case while she was en route to the scene. See (Df. Jeffry BWC-A, 00:00 - 1:00), (Df.

Jeffry BWC-B, 04:28 - 7:34).

       If the Court construes Defendants’ motion as one for summary judgment, it must view the

facts in the light most favorable to Plaintiff and draw all justifiable inferences in her favor.

Wheelabrator Baltimore, L.P. v. Mayor & City Council of Baltimore, 449 F. Supp. 3d 549,

558–59 (D. Md. 2020) citing Ricci v. DeStefano, 557 U.S. 557, 586 (2009); Anderson v. Liberty

Lobby, Inc., 477 U.S. 242, 255 (1986); Adickes v. S.H. Kress & Co., 398 U.S. 144, 158–59


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(1970). Summary judgment is appropriate only where the movant shows that “there is no

genuine dispute as to any material fact” based on admissible evidence. Fed. R. Civ. P. 56(a),

(c)(1)(A). Supporting materials must be presented in a form admissible at trial, and affidavits

must be based on personal knowledge and set forth facts admissible in evidence. Fed. R. Civ. P.

56(c)(2) - (4). Once properly supported, the burden shifts to the nonmovant to show that a

genuine dispute exists. Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586–87

(1986). However, such disputes cannot rest on “mere speculation or the building of one

inference upon another.” Othentec Ltd. v. Phelan, 526 F.3d 135, 141 (4th Cir. 2008) quoting

Beale v. Hardy, 769 F.2d 213, 214 (4th Cir. 1985). A fact is “material” if it might affect the

outcome under governing law. Anderson, 477 U.S. at 248; JKC Holding Co. v. Wash. Sports

Ventures, Inc., 264 F.3d 459, 465 (4th Cir. 2001); Hooven-Lewis v. Caldera, 249 F.3d 259, 265

(4th Cir. 2001). A dispute is “genuine” where the evidence is sufficient for a reasonable jury to

return a verdict in the nonmovant’s favor. Anderson, 477 U.S. at 248. Where a party fails to

show sufficient evidence on an essential element for which they bear the burden, “there can be

‘no genuine [dispute] as to any material fact.’” Celotex Corp. v. Catrett, 477 U.S. 317, 322–23

(1986). Where both parties move for summary judgment, the Court must consider each motion

separately and resolve all factual disputes in favor of the nonmovant. Rossignol v. Voorhaar,

316 F.3d 516, 523 (4th Cir. 2003) quoting Philip Morris Inc. v. Harshbarger, 122 F.3d 58, 62 n.4

(1st Cir. 1997); Wightman v. Springfield Terminal Ry. Co., 100 F.3d 228, 230 (1st Cir. 1996)).

The Court must also ensure that factually unsupported claims and defenses do not proceed to

trial. Drewitt v. Pratt, 999 F.2d 774, 778–79 (4th Cir. 1993). If the evidence is merely colorable

or not significantly probative, summary judgment should be granted. Anderson, 477 U.S. at


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249–50. Lastly, the Court may take judicial notice of matters of public record. Philips v. Pitt Cty.

Mem’l Hosp., 572 F.3d 176, 180 (4th Cir. 2009). Against this backdrop, Plaintiff submits the

following:

       III.    LEGAL ANALYSIS

               a.      Plaintiff’s 42 U.S.C. § 1983 claim(s)

       42 U.S.C. § 1983 provides:

               Every person who, under color of any statute, ordinance, regulation,
               custom, or usage, of any State or Territory or the District of Columbia,
               subjects, or causes to be subjected, any citizen of the United States or
               other person within the jurisdiction thereof to the deprivation of any
               rights, privileges, or immunities secured by the Constitution and laws,
               shall be liable to the party injured in an action at law, suit in equity, or
               other proper proceeding for redress. . .”

       “To state a claim under § 1983, a plaintiff must allege (1) that a right secured by the

Constitution or laws of the United States was violated, and (2) that the alleged violation was

committed by a ‘person acting under the color of state law.’” Gaines v. Baltimore Police Dep’t,

657 F. Supp. 3d 708, 748 (D. Md. 2023) quoting West v. Atkins, 487 U.S. 42, 48 (1988).

Liability under § 1983 attaches only upon personal participation by a defendant in a

constitutional violation. Trulock v. Freeh, 275 F.3d 391, 402 (4th Cir. 2001) (“[L]iability is

personal, based upon each defendant’s own constitutional violations.”). It is undisputed that

Officer Defendants at all times alleged were acting under color of state law. (Pl. Ex. 15 ¶¶2 - 3).

They were both Baltimore County Police Officers assigned to enforcing the laws of the State of

Maryland. Id. Plaintiff has alleged that Officer Defendants violated Plaintiff’s rights to be free

from: (a) deprivations of liberty without due process of law, (b) excessive force, under the 4th and

14th Amendments to the U.S. Constitution, and (c) the government seizing her firearm without


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probable cause or due process of law in violation of the 2nd, 4th, and 5th Amendments.

       When Ofr. Jeffry unlawfully placed Plaintiff under arrest and took her into custody

without probable cause while Sgt. McDowell aided and abetted the false arrest by ordering it and

casually standing by and directing it as one of PO Jeffrey’s supervisors, without interceding, both

PO Jeffry and Sgt. McDowell equally violated Plaintiff’s rights under the 4th and 14th

Amendments. Randall v. Prince George’s County, Md., 302 F.3d 188, 203 (4th Cir. 2002)

(“supervisory liability arises from the obligation of a supervisory law officer to insure that his

subordinates act within the law.”). Moreover, when PO Jeffry and Sgt. McDowell unlawfully

and warrantlessly seized Plaintiff’s firearm without probable cause nor due process, they both

violated Plaintiff’s right to bare arms under the 2nd and 4th and 5th Amendments of the

Constitution. Therefore, they are liable to Plaintiff for her damages.

               b.      CP § 2-202 Warrantless arrests, arrests generally

       Criminal Procedure Article § 2-202 provides the basis upon which an officer may make a

warrantless arrest. It states the following:

               (a)     A police officer may arrest without a warrant a person who
               commits or attempts to commit a felony or misdemeanor in the presence
               or within the view of the police officer.

               (b)     A police officer who has probable cause to believe that a felony
               or misdemeanor is being committed in the presence or within the view of
               the police officer may arrest without a warrant any person whom the
               police officer reasonably believes to have committed the crime.

               (c)     A police officer without a warrant may arrest a person if the
               police officer has probable cause to believe that a felony has been
               committed or attempted and the person has committed or attempted to
               commit the felony whether or not in the presence or within the view of
               the police officer.

       The term probable cause is a “nontechnical conception of a reasonable ground for belief


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of guilt.” Moulden v. State, 212 Md. App. 331, 344 (2013). Courts evaluate probable cause by

considering the totality of the circumstances, including the credibility of the facts, the nature of

the police information, the surrounding environment, the purpose of the police action, and the

suspect’s conduct. Id. To establish probable cause, the facts and circumstances within the

officer’s knowledge --or those supported by reasonably trustworthy information --must be

sufficient to warrant a prudent person’s belief that the suspect had committed or was committing

a criminal offense. Id. While the standard requires less evidence than is necessary for a

conviction, it demands more than mere suspicion. In this case, PO Jeffry and Sgt. McDowell

could not have had more than a bare suspicion, if that. They effectuated the warrantless arrest of

Plaintiff in violation of CP §2-202's well established probable cause standard. When PO Jeffry

and Sgt. McDowell arrived at the scene after being summonsed by Plaintiff, there was no

evidence that Plaintiff had committed or attempted to commit a crime in their presence or within

their view. Nor did they have a “reasonable” belief that Plaintiff was committing a crime prior

to their arrival or at anytime thereafter. Critically here, neither Defendant possessed probable

cause to believe that Plaintiff had committed or attempted to commit a felony. The charge of 1st

Degree assault (felony) requires, at a minimum, evidence that the alleged victim was placed in

reasonable apprehension of an imminent battery with a firearm. It is undisputed here that the

alleged victim never saw a firearm nor believed one was present. Thus, the key element of

apprehension was entirely absent from Defendants’ probable cause equation. Under Maryland

law, a person cannot be guilty of assault “by threat” unless the victim is aware of the threat.

Lamb v. State, 93 Md. App. 422, 445 (1992). Applying the totality of the circumstances analysis

–which includes weighing the environment, the information provided to the officers, and


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Plaintiff’s conduct --there were insufficient facts to lead a prudent person to conclude that

Plaintiff had committed 1st Degree assault, or any assault for that matter. Therefore, Plaintiff’s

assault arrest was unsupported by probable cause and thereby violated of her constitutional

rights. By contrast, PO Jeffry and Sgt. McDowell did, in fact, have probable cause to arrest the

customer for indecent exposure and solicitation, two charges specifically listed under CP

§2-203(b)(6). That provision expressly authorizes a warrantless arrest if an officer has probable

cause to believe a person committed indecent exposure in violation of Criminal Law §11-107.

Probable cause for the customer’s arrest was clearly established here. But he was not arrested.

Despite having clear legal authority to make the arrest based on Plaintiff’s prompt 911 calls,

Plaintiff’s eyewitness account, and consistent narrative, Defendants chose instead to arrest the

her –the senior citizen who was the victim of a sex crime. The decision to arrest Plaintiff rather

than her offender was not only legally erroneous but it was extremely suggestive of malice.

Plaintiff submits that her wrongful arrest on all of the charges but particularly felony 1st Degree

assault was complete nonsense, unsupported by any factual basis. Consequently, it violated CP

§2-202, et seq., and deprived Plaintiff of her State and federal constitutional rights.

               c.      No probable cause nor reasonable belief assault committed

       PO Jeffry and Sgt. McDowell had neither probable cause nor a reasonable belief that

Plaintiff committed or should have been charged with 1st or 2nd Degree Assault. To satisfy

probable cause for the charge of second degree assault (Intent to frighten) under the facts of this

case, it must, at the very least, be alleged that a person intentionally frightened another person

with the threat of imminent harmful or offensive contact without legal justification. MPJI-Cr

4:01(A). This case is replete with legal justification as acknowledged, accepted, and reported by


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PO Jeffrys. (Df. Jeffry BWC-D, 18:53 - 19:06), (Pl. Ex. 4 pp. 2 - 3). As to the remaining

varieties of assault (offensive contact, attempted battery), none of them apply here.

       PO Jeffry and Sgt. McDowell were aware that Plaintiff was a 5'3, 60-year-old female

DoorDash driver, lawfully delivering food to a customer who had specifically requested

“hand-to-recipient” delivery rather than a drop-off delivery. (Df. Jeffry BWC-A, 04:20–05:03).

Defendants also knew that the customer was a 6'3, 21-year-old male --youthful, virile, and spry.

Plaintiff was the visibly older and a more vulnerable elderly woman. They further knew Plaintiff

made several 911 calls to report the customer exposing his erect genitals when answering the

door, --an act that shocked, offended, and “extremely troubled” Plaintiff. (Pl. Ex. 14, Agnew

Stmt. Of PC p. 2), (Df. Jeffry BWC-A, 05:09–05:20); see also (Pl. Ex. 1 ¶9). Plaintiff exchanged

“several words” and immediately retreated to her vehicle, moved and parked across the street

diagonally in front of Plaintiff’s house and then to a nearby corner in the neighborhood, from

where she frantically called 911 multiple times. (Pl’ Ex. 4 p. 2). Defendants also knew that

while Plaintiff was waiting for police to arrive, the customer was repeatedly texting and calling

her phone. Id., at 2 - 3, (Df. Jeffry BWC-A, 05:47 - 54). On the one call she answered, the

customer addressed her with an angry tone and a profanity-laced directive to leave his

community. (Pl. Ex. 1 ¶¶9 - 10). After that, Plaintiff ignored the innumerable other harassing

calls from the customer that followed in rapid succession, and that apparently made the customer

angrier. Id. PO Jeffry and Sgt. McDowell were also aware that the customer eventually exited

his home and “aggressively” approached Plaintiff’s vehicle. He yelled profanities, flailed his

arms, clenched his fists, and threatened to inflict serious bodily harm or death to her. (Pl. Ex.

¶10); (Pl. Ex. 4 p. 3); (Df. Jeffry BWC-D, 01:50 - 04:20; 04:46 - 53; 11:05 - 23; 18:53 - 19:25).


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Given the totality of these circumstances, Plaintiff’s fear of the customer was reasonable and

well-founded.

       Lead investigator and reporting officer, PO Jeffry expressly acknowledged the

reasonableness of Plaintiff’s fear during their encounter, as documented on body-worn camera

(BWC) footage. In speaking with Plaintiff, PO Jeffry assured her that her account --including her

fear for her safety --would be documented in the police report:

                “So trust me, I’m going to put in your statement and I’ll put in his
                statements . . . that you were in fear for your safety and that’s going to be
                something that I also highlight in there because its how you felt in the
                moment, so I’ll be putting that in the PC [probable cause statement].
                (Df. Jeffry BWC-D. 18:53 - 19:06).

Defendant Jeffry further demonstrated a personal understanding of Plaintiff’s reaction, stating:

                “If I were in your shoes, like being a uniformed personnel or previous,
                like retired uniformed personnel, I’d feel the exact same way.” (Df.
                Jeffry BWC-D. 17:40 - 17:50).

These statements, recorded contemporaneously, reflect not only recognition of Plaintiff’s state of

mind, but also the absence of any intent or conduct inconsistent with a claim of lawful

self-defense. See (Pl. Ex. 5 p. 5) (“[t]here was no criminal actions taken by Ms. Conway.”). At

no point did the customer apologize or attempt to deescalate the encounter despite being the

subject of a reported lewd act/indecent exposure complaint. (Pl. Ex. 1 ¶33). Consistent with her

verbal commitment, PO Jeffry included in her statement of probable cause the following:

                Victim Agnew reported that he yelled at suspect Conway . . .” * * *
                “[A]s Victim Agnew walked toward [Conway’s] vehicle, she grew
                fearful, thus retrieving her firearm from her purse for protection. (Pl.
                Ex. 4 p. 4).

This language, drafted by the investigating officer herself, was determinative. The Court

Commissioner declined to find probable cause for either 1st - or 2nd -degree assault. (Pl. Ex. 4 pp.


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2 - 3). Moreover, the State’s Attorney’s Office declined to prosecute the case, and according to

PO Jeffry, Assistant State’s Attorney Samuel Dominick III advised that the charges would be

dismissed because “the articulable facts of the incident . . . highly suggested the arrest of

[Conway] was made prematurely.” (Pl. Ex. 5 pp. 4 - 5).

        PO Jeffry’s own investigation thus established key facts supporting either perfect or

imperfect self-defense under Maryland law. By including actual evidence of either perfect or

imperfect self-defense in her police report to support probable cause, the charge of first degree

assault could never stand. See MPJI-Cr 5:07, Notes, Comment. Self-defense applies to

assaultive crimes.” Bynes v. State, 237 Md. App. 439, 442 (2018). As set forth in Christian v.

State, 405 Md. 306 (2008), perfect self-defense is a defense to assault and imperfect self-defense

can mitigate first degree assault to second degree assault. These principles are reflected in

Maryland Pattern Jury Instruction MPJI-Cr 5:07, which provides that self-defense applies where:

                (1)     the defendant was not the aggressor. . .;
                (2)     the defendant actually believed that she was in immediate or
                        imminent danger of bodily harm;
                (3)     the defendant’s belief was reasonable; and
                (4)     the defendant used no more force than was reasonably necessary
                        to defend herself in light of the threatened or actual harm. MPJI-
                        Cr 5:07;

see also State v. Marr, 362 Md. 467, 472 - 73 (2001) (discussing self-defense).

        Each of these elements are supported here. Plaintiff never exited her vehicle, and only

removed her firearm from her purse and held it in a low-ready position --pointed toward the

passenger-side floorboard --after the customer aggressively “walk[ed] up” to her while inside of

her truck, yelling profanities, flailing his arms, clenching his fists, and issuing threats to do

bodily harm. (Df. Jeffry BWC-A, 08:34 - 09:00) (“He walked over to me like he was getting


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ready to do something.”), (Df. Jeffry BWC-D, 18:34 - 18:43) (If he didn’t walk up to my truck, I

wouldn’t have never, you know, the way he [aggressively] came over there.”). These facts are

not in genuine dispute. They are supported by evidence presented in this case, including PO

Jeffry’s BWC footage and the probable cause statement. Id. PO Jeffry’s investigation revealed

that Plaintiff reasonably believed that self-defense applied to the facts of this case. And

Plaintiff’s reasonable belief was enough to constitute legal justification for her benign retrieval of

her firearm which was reasonably necessary to defend herself. Although Defendants claimed that

the customer may have seen a Taser in Plaintiff’s left hand, this evidence (1) supports the

inference that the customer had gotten dangerously close to Plaintiff inside of her vehicle; or (2)

contradicts the claim that he saw a weapon at all and was just being deceptive. He had a strong

motive to remove the focus from his own illicit conduct because indecent exposure and

solicitation are warrantlessly arrestable offenses --regardless of whether committed in the

presence or view of police. CP §2-203(b)(6), (10). Either way, these facts fail to support

probable cause for an assault and cannot support a failure to state a claim or summary judgment

motion. The totality of the circumstances, including the investigative findings of the lead officer

and the decisions of both the Court Commissioner and the State’s Attorney, overwhelmingly

support Plaintiff’s position that her conduct was legally justified. (Pl. Ex. 5 p. 5). Therefore, use

of force --if any --was both measured and reasonable in response to a perceived imminent threat,

and the record, inclusive of Plaintiff’s pleading, PO Jeffry’s Statement of Probable Cause, Case

Report, Map, and the BWCs provides no legal basis to conclude otherwise.

               d.      No probable cause to charge 1st Degree Assault

       Under Maryland law, a charge of 1st-degree assault based on the intent-to-frighten theory


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by use of a firearm cannot stand absent probable cause to support a charge of 2nd-degree assault.

Simms v. State, 240 Md.App. 606, 628 (Md. App. 2019) (“Second degree assault is a lesser

included offense of first-degree assault when the offenses arise out of the same event.). Absent a

viable underlying 2nd-degree assault, a 1st-degree assault charge lacks foundation. Moreover, if

the victim is not placed in reasonable apprehension by use of a firearm, a person cannot be

properly charged with 1st degree assault. See Lamb v. State, 93 Md.App. 422, 445 (1992). Here,

it is undisputed that the customer never saw a firearm. Again, Plaintiff remained inside her

vehicle at all times and held the firearm in a “low ready” position, pointed toward her passenger

-side floorboard. There is no allegation that Plaintiff brandished or pointed the weapon at the

customer nor any indication that he saw the firearm at all. (Df. Jeffry BWC-D, 14:34 - 14:45).

At most, the record reflects that he may have seen an object in Plaintiff’s hand, which he

speculated to be a Taser. This evidence is insufficient to establish reasonable apprehension of an

imminent battery by use of a firearm. See CL §3-202(b)(2) (“A person may not commit an assault

with a firearm.”). (Pl. Ex. 5 p. 5) (“there was no criminal actions taken by Ms. Conway.”).

        Lamb v. State, 93 Md. App., 422, 445 (1992) is dispositive. According to Lamb v. State,

even if a weapon is present, if a would-be victim of the threat is unaware of the threatening

conduct, i.e., actual possession of a firearm, there can be no assault of this [1st degree assault -

intent to frighten] variety. See also, Harrod v. State, 65 Md.App. 128, 138 (1985). Morever, if

the would-be victim perceives the threatening conduct but knows, for instance, that the gun is

defective, there is no apprehension of an imminent battery and, therefore, no assault of the

threatening variety. Lamb, at 445. Therefore, without an allegation that Plaintiff brandished or

pointed a firearm at the customer, there is insufficient information to charge Plaintiff with 1st


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degree assault.

       In the case of Harrod v. State, 65 Md.App. 128, 138 (1985), the court addressed a similar

situation involving assault. There, the court explained:

                  There is likewise insufficient evidence that appellant, by an unlawful
                  intentional act, placed Christopher in reasonable apprehension of
                  receiving an immediate battery. By definition the victim must be aware
                  of the impending contact. Wharton’s Criminal Law § 180; LaFave &
                  Scott, Criminal Law § 82 at 611. See United States v. Bell, 505 F.2d 539
                  (7th Cir.1974), cert. denied, 420 U.S. 964, 95 S.Ct. 1357, 43 L.Ed.2d
                  442 (1975); United States v. Rizzo, 409 F.2d 400 (7th Cir.1959); State v.
                  LaMere (Mont.) 621 P.2d 462 (1980); State v. Barry, 45 Mont. 598, 124
                  P. 775 (1912). This is consistent with the tort theory of assault. W.
                  Prosser, Law of Torts § 10 (4th ed. 1971) (“Since the interest involved is
                  the mental one of apprehension of contact, it should follow that the
                  plaintiff must be aware of the defendant’s act at the time, and that it is
                  not an assault to aim a gun at one who is unaware of it.”) (emphasis
                  added). Harrod v. State, 65 Md.App. 128, 138 (1985) citing
                  Restatement (Second) of Torts §§ 21–22 (1966).

See also Perry v. State, 2017 WL 2709801 *5 (Md. 2017).

                  “If the would-be victim perceives the threatening conduct but [does not
                  know, for instance, what a firearm is, or what it can do], there is no
                  apprehension of an imminent battery and, therefore, no assault of the
                  threatening variety.”

       And last, in the case of Lawson v. Morgan, 2011 WL 1135895 *16 (D. Md. 2011), this

Court pointed out in the unpublished opinion the following:

                  [Lawson] correctly argues that, to commit an assault of the intentional
                  frightening variety, “[a]ll that is required in terms of perception is an
                  apparent present ability from the viewpoint of the threatened victim.”
                  Lamb v. State, 93 Md.App. 422, 443, 613 A.2d 402 (1992), cert. denied,
                  329 Md. 110, 617 A.2d 1055 (1993) (emphasis added). If the victim of
                  the threat “is unaware of the threatening conduct, there can be no assault
                  of this variety.” Id. From these statements of the law, [Lawson] claims
                  that the victim’s own testimony that he or she was frightened is
                  necessary to prove the intent to frighten variety of second degree assault.

                  In making this argument, [Lawson] relies on Harrod v. State, 65
                  Md.App. 128, 499 A.2d 959 (1985). This reliance, however, is
                  misplaced. In Harrod, we did not determine that testimony from the


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               alleged victim was needed to establish that the victim was frightened.
               We merely decided that the evidence was insufficient to prove that the
               victim, a child asleep in his crib, was frightened because the child was
               unaware that the defendant had thrown a weapon in the room where he
               lay sleeping. See id. at 138, 499 A.2d 959.

       Based upon the foregoing, if the victim, as here, is unaware that Plaintiff was armed with

a gun, when she told him to back up, whether the use of the firearm was justified or not, doesn’t

matter. The customer could not be frightened by a firearm if he never saw one or believed one

was present. The customer saw what resembled a Taser and expressly rejected the notion he saw

a firearm. (Pl. Ex. 4 p. 3). A Taser is not a firearm. Based thereupon, it is impossible for any

reasonable police officer to find probable cause to arrest Plaintiff for 1st degree assault.

               e.      No Immunity for Officers Jeffry and McDowell

       “The doctrine of qualified immunity shields [law enforcement] officers from civil liability

so long as their conduct does not violate clearly established statutory or constitutional rights of

which a reasonable person would have known.” City of Tahlequah, Oklahoma v. Bond, 595 U.S.

9, 12 (2021). Qualified immunity “balances two important interests --the need to hold public

officials accountable when they exercise power irresponsibly and the need to shield officials from

harassment, distraction, and liability when they perform their duties reasonably.” Pearson v.

Callahan, 555 U.S. 223, 231 (2009). The Supreme Court laid out a two-step process for

resolving qualified immunity claims of government officials. See Saucier v. Katz, 533 U.S. 194,

201 (2001). First, a court must decide whether the facts that a plaintiff has alleged or shown

make out a violation of a constitutional right. See Id. Second, a court must decide whether the

right at issue was “clearly established” at the time of defendant’s alleged misconduct. Id. Courts

may exercise discretion in deciding which of the two Saucier prongs “should be addressed first in


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light of the circumstances in the particular case at hand.” Pearson, 555 U.S. at 236. “That

means that we may grant qualified immunity on the ground that the purported right was not

clearly established without resolving the ‘often more difficult question whether the purported

right exists at all.’ ” Atkinson v. Godfrey, 100 F.4th 498, 504 (4th Cir. 2024). “In the Fourth

Circuit, we have a split burden of proof for the qualified-immunity defense; the plaintiff bears the

burden on the first prong, and the officer bears the burden on the second prong.” Stanton v.

Elliott, 25 F.4th Cir. 227, 233 (4th Cir. 2022).

       Neither PO Jeffry nor Sgt. McDowell are entitled to qualified immunity for their

misconduct. Plaintiff has a right not be arrested under the 4th and 14th Amendment in the absence

of probable cause, and any officer witnessing an arrest without probable cause has a duty to

intervene which compounds the rights owed to Plaintiff. An arrest without probable cause, aided

and abetted by a supervisor, who ordered the arrest and stood by and watched it take place

compounds the violation of Plaintiff’s rights under the 4th and 14th Amendments. Also, seizing a

persons firearm without probable cause or due process violates the 2nd, 5th, and 14th Amendments.

The law of arrest requiring probable cause as a predicate is clearly established in Maryland and

the United States. CP §2-202 (Warrantless arrests, generally), Johnson v. State, 356 Md. 498, 504

(1999) (“The legality of a warrantless arrest is determined by the existence of probable cause at

the time of the arrest.”) and U.S. v. McCraw, 920 F.2d 224, 227 (4th Cir. 1990), Beck v. Ohio,

379 U.S. 89, 91 (1964). Probable cause is based upon the “totality of the circumstances.”

Illinois v. Gates, 462 U.S. 213, 230 - 31 (1983). Only the facts and circumstances known at the

time of the arrest may be considered by the court in reviewing probable cause to arrest.

McCraw, 920 F.2d at 227. Again, Maryland law permits an officer to effect a warrantless arrest


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of any person whom the officer reasonably believes to have committed a felony or misdemeanor,

if the offense was committed within the officer’s presence or view. See CP § 2-202(b); Meyler v.

Mayor and City Council of Ocean City, 736 F.Supp.3d 272, 285 (D. Md. 2024). The facts and

circumstances known to PO Jeffry and Sgt. McDowell at the time of Plaintiff’s arrest were as

follows: (1) No criminal offense was committed either in their view or presence, (2) Plaintiff, 60,

5'3, was a senior citizen, (3) retired captain for the Baltimore City Sheriff’s Department --first

African-American female captain in its 180 year history, (4) trained in the use of a firearm, (5) by

inference, trained in use of force and self-defense techniques, (6) on her DoorDash food delivery

job, (7) was a victim of two alleged sex offenses (indecent exposure, solicitation), (8) retreated to

her car for safety, (9) frantically called 911 multiple times, (10) was “aggressively” approached

inside her vehicle by a 21 year old adult male, 6'3, while safely parked across the street from his

residence, (11) who “yelled” at her, (12) used profanities directed at her, (13) issued threats of

bodily harm to her, (14) flailed his arms at her, (15) clenched his fists toward her, (16) had gotten

so dangerously close to her SUV that he could see an object in her “left” hand; (17) Plaintiff was

fearful of him, (18) her fear was objectively reasonable given his aggressive behavior on display

and her initial encounter with him when he answered his door with his genitals aroused and a

devilish grin –evidencing solicitation of assignation in violation of CL §11-306 (a) (“A person

may not knowingly procure or solicit or offer to procure or solicit prostitution or assignation”)

and indecent exposure in violation of CL §11-107(b) (“A person may not commit the common

law crime of indecent exposure.”), see also Duran v. State, 180 Md.App. 65, 78 - 79 (Md. App.

2008) (for elements to common law offense of indecent exposure which necessitated “open and

notorious lewdness”), (19) Plaintiff left the scene to file for criminal charges because the police


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took too ling to arrive, and (20) Plaintiff lawfully in possessed her firearm. The fact that Plaintiff

retrieved her firearm and held it down in the low ready position toward her passenger-side

floorboard in a manner consistent with her training, given the totality of the circumstances, does

not constitute probable cause to arrest her for any variety or degrees of assaults. Self-defense is a

complete defense. Jarvis v. State, 487 Md. 548, 555 (2024) (perfect self-defense is a total

defense to murder --and all lesser included offenses --and . . . necessitates an acquittal.”). PO

Jeffry and Sgt. McDowell knew that Plaintiff’s reactions were in self-defense to the 21 year old

customer’s physical approach and imminent threat. They further knew that Plaintiff’s reactions

were objectively and subjectively reasonable under the circumstances. (Df. Jeffry BWC-D.

17:40 - 17:50, 18:53 - 19:06). Their decision to arrest Plaintiff anyway, without probable cause,

violated clearly established law. Consequently, neither PO Jeffry nor Sgt. McDowell enjoy

qualified immunity here. And for virtually the same reasons, they are not entitled to statutory nor

common law public official immunity either. Houghton v. Forrest, 412 Md. 578, 989 A.2d 223,

228 (2010) (holding that public official immunity does not apply to claims of assault, battery,

false arrest, false imprisonment, and violations of Articles 24 and 26 of the Maryland Declaration

of Rights). They violated Plaintiff’s rights under the Maryland Declaration of Rights, and the

torts alleged were intentional. Neither common law nor statutory [CP §5-507] “public official

immunity” apply to intentional torts.” Houghton v. Forrest, 412 Md. 578, 586 (2010) (holding

that public official immunity does not apply to claims of assault, battery, false arrest, false

imprisonment, and violations of Articles 24 and 26 of the Maryland Declaration of Rights);

Meyler, 736 F.Supp.3d at 284 - 85.

               f.      COUNT III, §1983 (Bystander Liability), McDowell


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       Sgt. McDowell is liable under 42 U.S.C. § 1983 for bystander liability because he was

present and in a supervisory capacity during the events that led to the violation of Plaintiff’s

constitutional rights. He also had knowledge of those violations and failed to take any

reasonable steps to intervene. Under Fourth Circuit precedent, an officer may be held liable

where: (1) he knew a fellow officer was violating someone’s constitutional rights; (2) he had a

reasonable opportunity to prevent the harm; and (3) he chose not to act. See Randall v. Prince

George’s Cnty., 302 F.3d 188, 204 (4th Cir. 2002). Here, Sgt. McDowell either personally

observed or was otherwise aware of the unlawful arrest or excessive force/abuse of authority by

Officer Jeffry. As a supervisor on the scene, Sgt. McDowell had both the authority and

opportunity to intervene, deescalate, or stop the constitutional violation(s) but failed to do so.

His inaction --despite having a duty to intercede --renders him liable under §1983. Section 1983

imposes a duty to act, it is not just a prohibition on wrongdoing. Id. Officers who stand by while

constitutional violations occur in their presence are not shielded from liability. Defendant is

liable to Plaintiff under §1983 for bystander liability because he not only failed to intervene as

PO Jeffry’s supervisor, he ordered, encouraged, aided, and abetted Plaintiff’s unlawful arrest.

               g.      COUNT IV, False Arrest, Jeffry & McDowell

       Defendants are liable to Plaintiff for False Arrest because Plaintiff’s arrest was not based

upon probable cause nor legal justification. To prevail on a false arrest claim under §1983 and

Maryland law, a plaintiff must show that she was arrested without legal justification. In both

federal and state law, probable cause is the threshold requirement for a lawful arrest. See Brown

v. Gilmore, 278 F.3d 362, 367 (4th Cir. 2002); Ashton v. Brown, 339 Md. 70, 120 (1995). Here,

Plaintiff’s arrest was based on an alleged 1st & 2nd-degree assault (intent-to-frighten), yet the


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facts, when viewed objectively, do not support a reasonable belief that she committed a crime.

See (Pl. Ex. 5 p. 5) (“[t]here was no criminal actions taken by Ms. Conway.”). Plaintiff lawfully

possessed her firearm, remained inside her vehicle, and unholstered her weapon in a defensive

posture without brandishing nor pointing it at anyone. There was no overt act of aggression and

no movement suggesting she had any unlawful intent to inflict harm. Thus, both officers lacked

probable cause, rendering Plaintiff’s arrest unconstitutional. Sgt. McDowell, as the on-scene

supervisor, was not merely a bystander. He either authorized, ratified, or allowed the arrest to

proceed in his presence despite the obvious absence of probable cause. Therefore, he is just as

liable as PO Jeffry for violating Plaintiff. See Shaw v. Stroud, 13 F.3d 791, 799 (4th Cir. 1994).

               h.      COUNT V, False Imprisonment, Jeffry & McDowell

       For the same reasons as False Arrest, Defendants are liable for False Imprisonment.

               i.      COUNT VI, Assault & Battery, Jeffry & McDowell

       Under Maryland law, a police officer may be held liable for battery when he uses force

that is not legally justified and liable for assault when he places another in imminent fear of

unlawful physical contact. See French v. Hines, 182 Md. App. 201, 257 (2008); Richardson v.

McGriff, 361 Md. 437, 452 (2000). The use of force to effectuate detention without legal

justification gives rise to liability for assault and battery. See Ashton v. Brown, 339 Md. 70, 119

n. 24 (1995). Defendants PO Jeffry and Sgt. McDowell are liable for Assault & Battery.

               j.      COUNT VII, Malicious Prosecution, Jeffry

       Under §1983, malicious prosecution claims implicate the 4th Amendment right to be free

from unreasonable seizures and 14th Amendment due process protections. A §1983 plaintiff

must show a seizure pursuant to legal process was initiated without probable cause, and a


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favorable termination. See Lambert v. Williams, 223 F.3d 257, 260 - 62 (4th Cir. 2000). Plaintiff

has clearly established that she was arrested without probable cause and the charges were

dismissed due to inadequate “articulable facts” and a “premature” arrest. See (Pl. Ex. 5 pp. 4-5),

(Pl. Ex. 12).

                k.     COUNT VIII, Article 24 & 26, Jeffry

        PO Jeffry and Sgt. McDowell violated Article 26 by seizing Plaintiff without a warrant

and without probable cause, and by using unnecessary or excessive force during that seizure.

Plaintiff was arrested for 2nd-degree assault even though her conduct—defensively unholstering a

legally possessed firearm without threatening or pointing it at anyone—did not amount to

criminal conduct under Maryland law. The officers lacked probable cause and arrested her,

violating her right to be free from unreasonable seizures under Article 26. Any physical force

used to handcuff, remove and detain Plaintiff without justification constitutes excessive force and

a violation of her Article 26 rights. Both Jeffry, as the arresting officer, and Sgt. McDowell, as

the supervising officer who permitted and approved the arrest, are liable for this violation. Their

actions also violated Article 24 by subjecting Plaintiff to criminal prosecution and detention

without legal basis, and by doing so in a deliberate or reckless disregard for her constitutional

rights. Initiating baseless criminal charges --without evidence, and with knowledge that

Plaintiff’s conduct was lawful --amounts to a deprivation of liberty without procedural due

process. This includes both false arrest and malicious prosecution, which are actionable under

Article 24 when committed by state actors. See Okwa v. Harper, 360 Md. 161, 204 (2000)

(recognizing Article 24 claim for malicious prosecution and abuse of process). By initiating and

sustaining a criminal process unsupported by probable cause, PO Jeffry and Sgt. McDowell


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violated Plaintiff’s due process rights guaranteed under Maryland law.

               l.      COUNT IX, Article 24, 26 (Bystander Liability), McDowell

       Sgt. McDowell is liable to Plaintiff for the violation of her Maryland constitutional rights

under Article 24 (due process) and Article 26 (unreasonable search and seizure) because he was

present during, aware of, and failed to intervene in constitutional violations committed by Officer

Jeffry --despite having the authority and opportunity to prevent them. Maryland courts recognize

individual officer liability under Articles 24 and 26 where the officer either: (1) Directly

participates in the unconstitutional act, or (2) Stands by and fails to intervene to prevent another

officer’s constitutional violation when able to do so. Maryland “bystander liability” is

functionally equivalent to the federal §1983 standard. See Littleton v. Swonger, 502 F. Supp. 3d

459, 470 - 71 (D. Md. 2020) (holding that officers may be liable under Articles 24 and 26 for

failing to stop a known constitutional violation); Richardson v. McGriff, 361 Md. 437, 452

(2000); DiPino v. Davis, 354 Md. 18, 50 - 55 (1999). Sgt. McDowell is liable under Maryland’s

Declaration of Rights for violating Article 26, by failing to prevent an unlawful arrest and seizure

that occurred in his presence and under his direct supervision and control. He is liable for

violating Article 24, by allowing Plaintiff to be subjected to criminal prosecution and detention

without due process of law; and for doing so despite having actual and constructive knowledge,

authority to act and a clear opportunity to intervene. His inaction in the face of a known

constitutional violation renders him liable under well-established Maryland law. Id.

               m.      pre-discovery motion on excessive force claim

       Summary judgment is inappropriate where a party has not had a fair opportunity to

conduct discovery. See Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986). Under Rule 56(d), a


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court may defer or deny a summary judgment motion when the nonmovant shows it cannot

present essential facts without further discovery. The Fourth Circuit has held that such relief

should be “liberally granted” to prevent premature rulings. McCray v. Md. Dep’t of Transp., 741

F.3d 480, 484 (4th Cir. 2014). Courts must decline to consider summary judgment where the

nonmovant lacks access to necessary evidence. See Harrods Ltd. v. Sixty Internet Domain

Names, 302 F.3d 214, 244 (4th Cir. 2002). PO Jeffry’s BWC-B footage documents at 07:25 just

before it shuts off, that she was discussing with her supervisors whether she had probable cause

to arrest Plaintiff for first degree assault and ultimately decided at that time that she did not. (Df.

Jeffry BWC-B, 07:19 - 07:34). If PO Jeffry lacked probable cause or reasonable belief to arrest

for 1st degree assault, under the Maryland Warrantless Arrest statute, she lacked the authority

make an arrest her for 2nd degree assault. See CP §2-202. Again, no assault of any variety or

degree was committed or being committed in PO Jeffry’s, McDowell’s, et al.’s presence or

within their view. See CP §2-202, Meyler, 736 F.Supp.3d at 285. Simple assault is not an

enumerated crime under CP §2-203. More importantly, PO Jeffry’s BWC video shuts off during

PO Jeffry’s ongoing recorded conversation about the case with her supervisor. (Df. Jeffry BWC-

B, 04:29 - 07:34). Plaintiff is entitled to the remainder of the documented conversation between

PO Jeffry and one of her supervisors captured on her BWC. Plaintiff is also entitled to PO

Jeffry’s BWC recorded conversation with Plaintiff when she stopped PO Jeffry at the Walgreens

store on her way to the precinct. See (Df. Jeffry BWC-B, 05:15 - 5:30) (“ . . . [S]he ends up

finding me at Walgreens”. . .). She is further entitled to BWC footage documenting PO Jeffry’s

travel from the Walgreen’s store to her arrival at 1733 Edgewood Road residence.

               n.      Plaintiff’s excessive force pain & suffering not adequately captured


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        Next, PO Jeffry and Sgt. McDowell made mention of the fact that Plaintiff did not

adequately express any substantial injuries on the BWC directly and proximately caused by the

excessive force alleged during her arrest without probable cause. Plaintiff submits, there is no

controlling precedent endorsing a “substantial injury” requirement to bring an excessive force

claim. See French, 182 Md.App. at 262. All claims of excessive force --whether deadly or not --

in the course of an arrest, investigatory stop, or other “seizure” of a free citizen are to analyzed

under the 4th Amendment and its “reasonableness” standard. See French, 182 Md.App. at 261 -

63. The use of force, technical or not, to effectuate an unlawful arrest lacking probable cause

constitutes excessive force. Id. at 264. Not to mention, Plaintiff’s complaints about her pain &

suffering is adequately documented in Jeffry’s BWC footage. (Df. Jeffry BWC-B, 02:30 - 40),

(Df. Jeffry BWC-D, 09:19 - 25, 14:02 - 17, 22:05 - 11). Plaintiff’s acknowledgment and

comments that Jeffry’s was just “doing her job” were either sarcasm or made to mollify PO

Jeffry in order to ensure PO Jeffry promptly processed her paperwork so she could return home

to her family as swiftly as possible. (Df. Jeffry BWC-D 22:30 36, 33:08 - 12). Everything

Defendants did to Plaintiff was wrongful and she had no intention of relieving them of their guilt

in the short term or liability in the long run.

        IV.     CONCLUSION

        For the foregoing reasons, Defendants PO Jeffry and Sgt. McDowell’s motion to dismiss

should be respectfully DENIED. Neither officer had probable cause or a reasonable belief to

arrest Plaintiff in the case subjudice. For those same reasons, Plaintiff’s Cross-motion for

summary judgment should be GRANTED.

        Respectfully submitted,


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                             CERTIFICATE OF SERVICE

      I HEREBY CERTIFY, this _14th _ day of _Jul._, 2025, that the forgoing Opposition to
Motion to Dismiss or in the alternative for Summary Judgment and Cross-Motion for Summary
Judgment was served upon:

      Bradley Neitzel
      Assistant County Attorney
      BALTIMORE COUNTY OFFICE OF LAW
      400 Washington Avenue,
      Seond Floor
      Towson, MD 21204

      ______/s/_____________________________
      J. Wyndal Gordon




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JACQUELINE CONWAY                                *      IN THE

       Plaintiff                                 *      UNITED STATES

       v.                                        *      DISTRICT COURT

JASMINE JEFFRY, ET AL.                           *      OF MARYLAND

       Defendant                                 *             Northern District

                                          *     Case: 1:25-cv-01826-MJM
******************************************************************************
                                   ORDER

       UPON CONSIDERATION, of Defendants Motion to Dismiss and/or for Summary

Judgment, and the Opposition and Cross-Motion for Summary Judgment by Plaintiff;

       IT IS HEREBY ORDERED, this ___ day of ____, 2025, that the foregoing Defendants’

Motion be DENIED as to Defendants

       IT IS FURTHER ORDERED that Plaintiff’s Counter-Motion for Summary Judgment

be GRANTED.


                                          _____________________________
                                          JUDGE




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JACQUELINE CONWAY                                    *      IN THE

      Plaintiff                                      *      UNITED STATES

      v.                                             *      DISTRICT COURT

JASMINE JEFFRY, ET AL.                               *      OF MARYLAND

      Defendant                                      *            Northern District

                                          *     Case: 1:25-cv-01826-MJM
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